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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  BRIAN HUDDLESTON,

                Plaintiff,

                v.                                CIVIL ACTION No. 4:20CV447

  FEDERAL BUREAU OF INVESTIGATION                 JUDGE AMOS MAZZANT
  and UNITED STATES DEPARTMENT OF
  JUSTICE,

                Defendants.


                       GOVERNMENT’S NOTICE OF PRODUCTION

        The Government files notice that Vaughn indexes addressing the information possessed on

 the compact disk containing images of Seth Rich’s personal laptop, Seth Rich’s work laptop, the

 DVD, and the tape drive that are responsive to Plaintiff’s FOIA request have been produced to

 Plaintiff’s counsel pursuant to the Court’s order of August 16, 2024 [Doc 178].

        Date: March 10, 2025

                                             Respectfully submitted,

                                             ABE M. MCGLOTHIN, JR.
                                             ACTING UNITED STATES ATTORNEY

                                             /s/ James Gillingham
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 10, 2025, a true and correct copy of the foregoing document

 was filed electronically with the court and has been sent to counsel of record via the court’s

 electronic filing system.



                                             /s/ James Gillingham
                                             JAMES GILLINGHAM
                                             Assistant United States Attorney




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